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          September 18, 2020 Petition for Remission
                        EXHIBIT B
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                      PETITION FOR REMISSION/MITIGATION FORM




Note: There is no legal form or format required for filing a petition; this document is provided for your convenience.
Please visit https://www.forfeiture.gov/FilingPetition.htm for more specific guidance on filing your petition with the
appropriate seizing agency.

Frivolous Petition Statement: A petition containing false information may subject the petitioner to criminal prosecution
under Title 18 United States Code Section 1001 and Title 18 United Sates Code Section 1621.

Privacy Act Notice: The Department of Justice is collecting this information for the purpose of processing your petition
for remission and/or mitigation. Providing this information is voluntary; however, the information is necessary to process
your application. Information collected is covered by Privacy Act System of Records Notice Department of Justice (DOJ),
DOJ-002-DOJ Computer Systems Activity & Access Records, Federal Register (71 FR 29170). This information may be
disclosed to contractors when necessary to accomplish an agency function, to law enforcement when there is a violation
or potential violation of law, or in accordance with other published routine uses. For a complete list of routine uses, see
the system records notice listed above.




                                                                                                        EXHIBIT B
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                                    SECTION I - CONTACT INFORMATION

                                              PETITIONER INFORMATION
Petitioner/Contact Name: (Last, First)
WILSON, MARY
Business/Institution Name: (if applicable)                                                   Prisoner ID: (if applicable)


Address: (Include Street, City, State, and Zip Code)
10527 SOUTH MICHIGAN AVE
CHICAGO, IL 60628
Social Security Number/Tax Identification Number: (Enter N/A if you do not have one)
XXX-XX-XXXX
Phone: (optional)                                          Email: (optional)
7086064386                                                 info@edwardjohnsonlaw.com
                                       ATTORNEY INFORMATION (if applicable)
Attorney Name: (Last, First)
JOHNSON, EDWARD
Attorney Title:
MR.
Firm Name: (if applicable)
LAW OFFICES OF EDWARD JOHNSON
Attorney Address: (Include Street, City, State, and Zip Code)
555 W. JACKSON BLVD. STE 700
CHICAGO, IL 60661
Are you an attorney filing this petition on behalf of your client?               X Yes               No
Attorney Phone: (optional)                                        Attorney Email: (optional)
7086064386                                                        info@edwardjohnsonlaw.com

If any of this information changes, you are responsible for notifying the agency of the new information.




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                                              SECTION II - ASSET LIST
You must identify your role for each asset in your petition. Please review the role definitions below.

                               ROLE INFORMATION (multiple roles may apply to each asset)
       Owner       The person in whom primary title is vested or whose interest is manifested by the actual and beneficial
                   use of the property, even though the title is vested in another. A victim of an offense, as defined in this
                   section, may also be an owner if he or she has a present legally cognizable ownership interest in the
                   property forfeited. A nominal owner of property will not be treated as its true owner if he or she is not
                   its beneficial owner.
       Victim      A person who has incurred a pecuniary loss as a direct result of the commission of the offense
                   underlying a forfeiture. A drug user is not considered a victim of a drug trafficking offense under this
                   definition. A victim does not include one who acquires a right to sue the perpetrator of the criminal
                   offense for any loss by assignment, subrogation, inheritance or otherwise from the actual victim,
                   unless that person has acquired an actual ownership interest in the forfeited property; provided
                   however, that if a victim has received compensation from insurance or any other source with respect
                   to a pecuniary loss, remission may be granted to the third party who provided the compensation, up to
                   the amount of the victim's pecuniary loss.
  Lienholder       A creditor whose claim or debt is secured by a specific right to obtain satisfaction against the
                   particular property subject to forfeiture. A lien creditor qualifies as a lienholder if the lien:

                     (1) Was established by operation of law or contract;

                     (2) Was created as a result of an exchange of money, goods, or services; and

                     (3) Is perfected against the specific property forfeited for which remission or mitigation is sought
                       (e.g., a real estate mortgage; a mechanic's lien).

Identify the asset ID and asset description for each asset you are petitioning and indicate your role as a petitioner for
each asset. You may select one or more roles.

   #            Asset ID                        Asset Description                         Owner       Victim     Lienholder
    1     20-DEA-664951       $33,783.00 U.S. Currency, SN: ****                             X
                              seized by the DEA on June 25, 2020 in Chicago, IL.




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                                    SECTION III - INTEREST IN PROPERTY
Provide additional information for the assets where you have identified yourself as the owner and/or lienholder. If you are
petitioning for multiple assets and the responses are not the same for each asset, please print out multiple copies of this
page to submit with the petition and indicate which assets apply to each page. If you have documentation that supports
your interest in the petitioned assets (bill of sale, retail installment agreements, contracts, titles or mortgages) please
include copies of the documents with the submission of the petition.

                                       INTEREST IN PROPERTY INFORMATION
 Asset ID                    Asset Description

 20-DEA-664951               $33,783.00 U.S. Currency, SN: ****                   seized by the DEA on June 25, 2020
                             in Chicago, IL.

In the space below, please explain why you have a valid, good faith, and legally recognizable interest in the
asset(s) as an owner or lienholder:
I have a valid, good faith, and legally recognizable interest in the money sezied. This is money I have made over time in
the entertainment business. All of the money is my life savings.

Select the reason why you are petitioning for remission and/or mitigation of the asset(s)?

 X   I am an innocent owner and I did not know of the conduct giving rise to the forfeiture OR I am an innocent owner
     and upon learning of the conduct giving rise to the forfeiture, I did all that reasonably could be expected under the
     circumstance to terminate such use of the property.

     I was a bona fide purchaser or seller of the forfeited property for value, AND I did not know and was without cause
     to believe that the property was subject to forfeiture at the time I acquired my interest in the property.

     None of the above. I am only seeking mitigation.

In the space below, please explain the reason for filing a petition.

I have a valid, good faith, and legally recognizable interest in the money sezied. This is money I have made over time in
the entertainment business. All of the money is my life savings.

In the event that the ruling official determines that I do not qualify for remission of the property, I hereby
request mitigation of the forfeiture to avoid extreme hardship.
     YES          X   NO

In support of my request, I would like the ruling official to consider the following extenuating circumstances:




In the space below, please list any documents you are including in support of your interest in the asset(s). If
none are included, please explain why.
these documents were seized by the investigative agency




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                                        SECTION IV - RECOVERY OF LOSS
No Recovery of Loss exists.



                            SECTION V - DECLARATION AND REPRESENTATION

The following declaration should be completed by the petitioner. If the petitioner is represented by an attorney, the
attorney may complete the declaration as long as the petitioner completes the sworn notice of representation.

 I attest and declare under penalty of perjury that my petition is not frivolous and the information provided in support of
my petition is true and correct to the best of my knowledge and belief.
                                                                             EDWARD
                                                                                               Digitally signed by EDWARD JOHNSON
                                                                                                   DN: cn=EDWARD JOHNSON,
                                                                                                   o=LAWOFFICES OF EDWARD JOHNSON,
                                                                                                   ou=ATTORNEY,

                                                                             JOHNSON               email=EDWARD@EDWARDJOHNSONLAW.C
                                                                                                   OM, c=US
                                                                                                   Date: 2020.09.18 15:56:02 -05'00'


                                                                                                                                  Signature


                                                                                                              JOHNSON, EDWARD
                                                                                                                           Printed Name


                                                                                                     09/18/2020
                                                                                                                                       Date

                                           Sworn Notice of Representation
This section must be completed only by petitioners who are represented by an attorney and whose attorney has
executed the declaration provided above.

  I have retained the above-named attorney who has authority to represent me in this matter. I have fully reviewed the
foregoing petition and found that its contents are truthful and accurate in every respect. I declare under penalty of perjury
that the foregoing information is true and correct.




                                                                                                                                  Signature


                                                                                                                        WILSON, MARY
                                                                                                                           Printed Name




                                                                                                                                       Date

A petition containing false information may subject the petitioner to criminal prosecution under Title 18 United States
Code Section 1001 and Title 18 United States Code Section 1621.

Attached Documents:




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